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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :                Criminal No. 81-306
                    v.                             :                (PLF)
                                                   :
JOHN HINCKLEY, JR.                                 :


                                GOVERNMENT’S STATUS REPORT

          The United States of America, through its attorney, the United States Attorney for the

District of Columbia, in compliance with the September 30, 2021 Consent Order for Mr.

Hinckley’s unconditional release from his D.C. Code '24-501commitment, hereby submits a

status report regarding its position on Mr. Hinckley’s unconditional release.

          Following the issuance of the September 30, 2021 Consent Order, Mr. Hinckley continued

to reside in the community on convalescent leave. Pursuant to that Order, the Department of

Behavioral Health submitted status letters to the Court and Counsel each month. 1 Each of those

letters indicated that Mr. Hinckley remained in compliance with the conditions of his release and

his mental health treatment and that he remained mentally stable. The most recent letter submitted

for the period of March 31, 2022, through May 1, 2022, indicates that:

                    1. As documented in the last seven monthly reports to Court, Mr.
                       Hinckley has continued to comply with all conditions set forth in
                       the October 28, 2020 Consent Order.

                    2. Mr. Hinckley's mental health has remained stable. He has not
                       reported or exhibited any psychiatric symptoms consistent with a
                       mood, anxiety, or psychotic disorder during this seven-month
                       period. Mr. Hinckley's psychiatric illness has been in full and
                       sustained remission for decades.

                    3. Characteristics associated with his narcissistic personality
                       disorder, for example self-absorption and grandiosity, continues
                       to be significantly attenuated compared to observations made in


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    November 2021, December 2021, January 2022, February 2022, March 2022, and April 2022.

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                    the 1980s.

                4. Mr. Hinckley has made no verbal threats, and he has exhibited no
                   behaviors indicative of harm to himself, others, or the property of
                   others. He has exhibited no disruptive or problematic behaviors.

                5. Mr. Hinckley has remained adherent to his medication regimen,
                   attended group therapy, and sought support from professionals
                   as situations arose. He has expressed a desire to continue to
                   utilize these professional services after his anticipated
                   Unconditional Release in June 2022.

                6. It continues to be DBH's opinion Mr. Hinckley has recovered his
                   sanity such that he does not present a danger to himself or others
                   because of mental illness if unconditionally released on June 15,
                   2022.


       The Government has reviewed all of the letters submitted by the Department of Behavioral

Health documenting Mr. Hinckley’s ongoing mental stability, compliance with recommended

treatment and absence of violations of the conditions of release. As such, the Government has

found no evidence to suggest that Mr. Hinckley’s unconditional release should not be granted as

outlined in the September 30, 2021, Consent Order.

                                                     Respectfully submitted,

                                                     Matthew Graves
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                                                     DC Bar #481-052

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